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(l€O!pSl/\l) uOnO0OlN uAl!J€l/\l
691179;11790000LL€€oo;e/\!lew@$@)d@a uO!un
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,,'004120!4!100 00ns p01u0/\01d 4011000 14001 pqu0q s00021sLun01!0

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420!5A0d 40 00u0p!/\0 Au2dLu03 001 0s!u1n4 A001 ss040n 101501 A1!10!u0s 001 Lu014
p0/\0Lu01 00 mm pu2 00!/\105 001 Lu014 p0051501 504/\20 s2 p010p!suo0 0q ||205 Au2dLu03
001 Bu!A4!1ou 1n001!/v\ sA2p 5 104 >|10/v\ Lu014 s0/\|0sLu001 1u0sq2 00/v\ s00A0|dLu;|“

'1u01,u0015v uo!un 33[ 00140 ama 504>|0/\0! 4|05 001 014|0s1n0A100_[qns
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’17002 ’91 A|n[ Aq ’>|10/v\ 01 A1!|102u! 1n0A 40 00!12044410/\ 00ns 0p!/\01d 01 |!24 noA p|n005

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1012| 00 0000502 1n0A 012!1u21sqns 01 uo!121u0Lun00p 5u!110cidns Au2 p12/v\104 0110p10
10011p 2 noA 0nss! 01 1nq 0s1n0001 ou 520 Au2dLu03 001 ’0/\002 001 00 p0s29

'1u0sqv 40 0/\201 1n0A 110cidns 01 00!12Lu104u!
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120!p0W >|211LuV 001 014|200q 1n0A uo 0011!Luqns uo!121u0l,umop |204p0Lu 004_

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